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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS


Evan Domanic

v.                                               Case Number: 4:22−cv−00386

Christian Brothers Automotive
Corporation




                                Notice of Resetting

A proceeding has been reset in this case as set forth below.

Joint Pretrial Order due 2/20/2025. Joint Pretrial Order should be filed/re−filed in
accordance with the Court's updated Procedures found on the SDTX Website.

BEFORE:
Judge Drew B Tipton
LOCATION:
Courtroom 8C
United States District Court
515 Rusk Street
Houston, TX 77002


DATE: 3/6/2025

TIME: 02:00 PM
TYPE OF PROCEEDING: Docket Call


Date: January 31, 2025                                         Nathan Ochsner, Clerk
